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                               UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF NEVADA


FIGHT FOR NEVADA,                                          )
                                                           )
                Plaintiff,                                 )
                                                           )
        v.                                                 )        Case No. 2:20-cv-00837-RFB-EJY
                                                           )
BARBARA CEGAVSKE, in her official capacity                 )        Judge: Hon. Richard F. Boulware, II
as the Secretary of State of Nevada,                       )
                                                           )        Magistrate: Hon. Elayna J. Youchah
                                                           )
                Defendant.                                 )

EMERGENCY MOTION FOR PRELIMINARY INJUNCTION AND/OR TEMPORARY
RESTRAINING ORDER AND ATTACHED MEMORANDUM OF LAW IN SUPPORT

         Pursuant to Federal Rules of Civil Procedure 65(a) and (b), Local Rule 7-4, and in view of

 the public health crisis precipitated by the coronavirus pandemic known as COVID-19 and the ensuing

 emergency measures adopted by the State of Nevada, Plaintiff respectfully moves the Court to enter a

 preliminary injunction and/or temporary restraining order that prohibits Defendant from enforcing or applying

 the May 14 deadline for submitting recall petitions established by NRS 306.015(3). Plaintiff further requests

 that the Court direct Defendant to grant them an extension of their deadline to submit recall petitions by an

 amount of time equal to the duration of Governor Sisolak‟s State of Emergency related to the coronavirus

 pandemic.

         Plaintiff certifies that counsel for the Defendant has been contacted and provided copies of the

 Complaint, this Motion, the Supporting Declaration of Robert E. Barnes and Plaintiff‟s Proposed Order.

 Pursuant to the Local Rule 7-4, Plaintiff and Defendant agreed on May 12, 2020, that a meet and confer would

 be unnecessary for this matter. Plaintiff has requested of counsel for the Defendant a waiver of service of

 process under Federal Rule of Civil Procedure 4.


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DATED: May 12, 2020               Respectfully submitted,

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                          MEMORANDUM OF LAW IN SUPPORT

       The COVID-19 pandemic has given rise to an extraordinary set of circumstances in

Nevada and nationwide. In an effort to contain the virus and protect the public health, the State

of Nevada has implemented several emergency measures that, although perhaps reasonable in

light of the public health crisis, make it impossible for Plaintiff to comply with the statutory

procedures they must follow to submit their petition to recall Governor Sisolak pursuant to NRS

306.015 et. seq. In particular, Plaintiff is required to circulate petitions, obtain the signatures of

not less than 25% of the number of persons who actually voted in Governor Sisolak‟s election,

and turn them in to Secretary for verification by May 14, 2020, 90-days after Plaintiff submitted

their Notice of Intent on February 14, 2020. See NRS 306.015, et seq., Nev. Const. Art. 2, Sec. 9.

That amounts to approximately 249,500 signatures due on May 14. Under the emergency

measures now in place, Plaintiff cannot lawfully comply with these requirements.

       On March 12, 2020, Governor Sisolak declared that Nevada was in a State of

Emergency.1 In his “Declaration of Emergency for COVID-19” he declared that “the State of

Nevada is experiencing events that require a coordinated response for the health and safety of the

public.” Id. Three days later on Sunday March 15, 2020, Governor Sisolak issued the first of

seventeen Declarations of Emergency Directives intended to combat the spread of COVID-19 in

Nevada. Most relevant to the instant action are Emergency Directive 003, declared on March 20,

2020, which mandated the closure of all non-essential business in Nevada, and Emergency

Directive 010, declared on March 31, 2020, which mandated that all Nevadans stay in their




1
 A true and correct copy of Governor Sisolak‟s “Declaration Of Emergency For COVID-19”
can be found at http://gov.nv.gov/News/Emergency_Orders/2020/2020-03-12_-_COVID-
19_Declaration_of_Emergency/
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residences except for limited activity necessary for maintaining essential needs and services.2

Collecting signatures on petitions is not included among the specified “essential” needs and

services, and combined, the Emergency Orders have the effect of completely prohibiting

Plaintiff‟s petitioning activities by closing down their petitioning sites and confining them to

their homes.


         On April 2, 2020, in response to multiple inquiries from Plaintiff‟s members, the

Secretary of State‟s office, via an email from employee Troy Casa, informed Plaintiff that after

consulting with the Attorney General‟s office, the Secretary of State concluded they would not

be extending any deadlines for submitting petitions for the recall of a public official due to a lack

of authority to do so. Plaintiff therefore urgently needs the relief requested herein, to protect their

speech, petitioning, voting, associational and equal protection rights as guaranteed by the First

and Fourteenth Amendments. In the absence of such relief, Plaintiff will suffer irreparable harm,

because their recall effort will be rejected for lack of signatures and all of the time, money, and

effort spent on their grassroots campaign will be wiped away as a result of circumstances

completely out of their control.


                                          LEGAL ARGUMENT


    I.      Plaintiff is Entitled to Preliminary Relief.


         A preliminary injunction should be granted if Plaintiff shows “(1) a strong likelihood of

success on the merits, (2) the possibility of irreparable injury to plaintiff if preliminary relief is
2
 A true and correct copy of Emergency Directive 003 can be found at:
http://gov.nv.gov/News/Emergency_Orders/2020/2020-03-20_-_COVID-
19_Declaration_of_Emergency_Directive_003/; A true and correct copy of Emergency Directive
010 “Stay At Home Order” can be found at:
http://gov.nv.gov/News/Emergency_Orders/2020/2020-03-31_-_COVID-
19_Declaration_of_Emergency_Directive_010_-_Stay_at_Home_Order/
                                                  4
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not granted, (3) a balance of hardships favoring the plaintiff, and (4) advancement of the public

interest (in certain cases).” Rodde v. Bonta, 375 F.3d 988, 994 (9th. Cir. 2004). Alternately, the

Court should grant injunctive relief wherever Plaintiff demonstrates “a combination of probable

success on the merits and the possibility of irreparable injury” or “that serious questions are

raised and the balance of hardships tips sharply in their favor.” Id. All of these factors strongly

counsel in favor of this Court‟s granting the Motion. The probability of success is high, as is the

possibility of irreparable injury.


        Similarly, this case raises serious questions and the balance of hardships tips heavily in

Plaintiff‟s favor. Cases analogous to the present include cases involving the regulation of the

ballot, which the United States Supreme Court has held involves fundamental First Amendment

rights. See Anderson v. Celebrezze, 460 U.S. 780 (1983) (“Anderson”).3


        “Generally, in a First Amendment challenge, a plaintiff who meets the first prong of the

test for a preliminary injunction will almost certainly meet the second, since irreparable injury

normally arises out of the deprivation of speech rights.” American Civil Liberties Union v. Reno,

217 F.3d 162, 180, (3d Cir. 2000) (internal citations and quotations omitted) (“Reno”).


        “As the Supreme Court has clearly stated, „the loss of First Amendment freedoms, for

even minimal periods of time, unquestionably constitutes irreparable injury.‟” Reno at 180,

(quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)). Similarly, in Council of Alternative Political

Parties v. Hooks, 121 F.3d 876 (3d Cir. 1997), the Third Circuit held that the irreparable injury




3
 This case is analogous to ballot access cases not only because they implicate the same First and
Fourteenth Amendment rights, but because this case is fundamentally a ballot access case. Under
NRS 306.060, et seq., a successful recall campaign triggers a special election by which anyone
may petition to nominate candidates for the special election.
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prong was met because “if the plaintiffs lack an adequate opportunity to gain placement on the

ballot . . . this infringement on their rights cannot be alleviated after the election.” Id. at 883.


        A. Plaintiff Has a Strong Likelihood of Success on the Merits


        The extraordinary circumstances from which this case arises make it an easy case to

decide. Under Nevada law as it now exists, Plaintiff has no lawful procedure by which they may

gather the necessary signatures for their recall campaign before their May 14 deadline. Plaintiff

is entitled to the relief requested on that basis alone because Nevada‟s petitioning requirements,

as applied here, cannot withstand constitutional scrutiny under the analytic framework the

Supreme Court set forth in Anderson, 460 U.S. at 780, and Burdick v. Takushi, 504 U.S. 428

(1992). Under that analysis, a reviewing court must:

        first consider the character and magnitude of the asserted injury to the rights protected by

        the First and Fourteenth Amendments that the plaintiff seeks to vindicate. It then must

        identify and evaluate the precise interests put forward by the State as justifications for the

        burden imposed by its rule. In passing judgment, the Court must not only determine the

        legitimacy and strength of each of those interests, it also must consider the extent to

        which those interests make it necessary to burden the plaintiff‟s rights. Only after

        weighing all these factors is the reviewing court in a position to decide whether the

        challenged provision is unconstitutional.

Anderson, 460 U.S. at 789. This framework establishes a “flexible standard,” according to which

the rigorousness of our inquiry into the propriety of a state election law depends upon the extent

to which a challenged restriction burdens First and Fourteenth Amendment rights.” Burdick, 504

U.S. at 434. Under this standard, “reasonable, nondiscriminatory restrictions” are subject to less

exacting review, whereas laws that impose “severe” burdens are subject to strict scrutiny. See id.

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(citations omitted). But in every case, “However slight [the] burden may appear ... it must be

justified by relevant and legitimate state interests sufficiently weighty to justify the limitation.”

Crawford v. Marion County Election Bd., 128 S.Ct. 1610, 1616 (2008) (citation and quotation

marks omitted).

       As the Seventh Circuit has explained, “[m]uch of the action takes place at the first stage

of Anderson’s balancing inquiry,” because the severity of the burden imposed is what determines

whether strict scrutiny or a less demanding level of review applies. Stone v. Board of Election

Com'rs for City of Chicago, 750 F.3d 678, 681 (7th Cir. 2014) (citing Burdick, 504 U.S. at 534).

Here, the burden imposed could not be more severe: Nevada law as currently applied prohibits

Plaintiff from engaging in any form of effective petitioning for almost the entire duration of

Plaintiff‟s recall campaign, as Plaintiff filed their Notice of Intent, the commencing filing of its

campaign, on February 14, 2020, whereas Governor Sisolak‟s State of Emergency was declared

less than a month later on March 12, 2020. Such “complete exclusion,” constitutes a “severe”

burden on the First and Fourteenth Amendment rights of the affected voters, candidates and

parties. Burdick, 504 U.S. at 434.

       To be sure, Nevada has a strong and even compelling interest in protecting the public

health during a pandemic. But no court has ever upheld an election law that completely prohibits

the petitioning activity of a recall campaign. Because petition circulation is currently prohibited

under Nevada law, and Nevada has failed to establish an alternative procedure by which Plaintiff

may circulate petitions for their campaign, Nevada‟s petitioning requirements are

unconstitutional as applied to Plaintiff during the current pandemic.

       B. Plaintiff Will Suffer Irreparable Harm if Preliminary Relief is Not Granted

       The second prong of the test is easily satisfied in this case. If Plaintiff is not provided



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emergency preliminary relief before the May 14 deadline established by NRS 306.015(3), they

will not be able to meet the signature requirements established by the Nevada Constitution and

their campaign for the recall of Governor Sisolak will be summarily denied. Nev. Const. Art. 2,

Sec. 9. This will cause significant harm to Plaintiff‟s First Amendment rights that cannot be

adequately remedied afterwards. Anderson at 787 (recognizing harm to voters‟ First Amendment

rights of association when they are unable to vote for the candidates they support).

        C. The Balance of Hardships Undeniably Favors the Plaintiff as the Defendant Will
           Suffer No Harm From an Extension Being Granted in this Case

        To be clear, Plaintiff is not seeking the complete invalidation of Nevada‟s laws regulating

the process for the recall of a public official. Plaintiff in this case merely seeks an extension of

their deadline equivalent to the duration of Governor Sisolak‟s declaration of a State of

Emergency that made it impossible for Plaintiff to gather petition signatures. Plaintiff is hard

pressed to think of any possible harm this limited emergency relief could cause Defendant. In

fact, on April 1, 2020, in his revised Emergency Directive 009, Governor Sisolak mandated that

any specific time limit set by state statute or regulation for the commencement of any legal

action would be tolled from the date of the directive until 30 days from the date the state of

emergency declared on March 12, 2020 is terminated.4 If Nevada can withstand such a sweeping

staying of all legal deadlines for commencing legal actions, then surely it can withstand the

limited relief requested here – relief that will only affect the Plaintiff in this case.

        D. Preliminary Relief in in the Public Interest

        Plaintiff‟s recall campaign is a grassroots volunteer effort based on legitimate disputes

with several of Governor Sisolak‟s public policies. Whether or not their campaign succeeds

4
 A true and correct copy of Emergency Directive 009 can be found at:
http://gov.nv.gov/News/Emergency_Orders/2020/2020-04-01_-_COVID-
19_Declaration_of_Emergency_Directive_009_(Revised)/
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depends on whether or not they can obtain the signatures of 250,000 Nevadans who share their

view. Nevadans have a right to decide whether or not they wish to sign on to Plaintiff‟s

campaign, and a summary denial of this campaign due to a public health emergency completely

outside of the Plaintiff‟s control would deny them of this right. As the Third Circuit noted in an

analogous case, “[i]n the absence of legitimate, countervailing concerns, the public interest

clearly favors the protection of constitutional rights…” Council of Alternative Political Parties,

121 F.3d at 883-84.

                                                    CONCLUSION

         For the foregoing reasons, Plaintiff‟s request for a preliminary injunction and/or temporary

 restraining order that prohibits Defendant from enforcing or applying the May 14 deadline for submitting

 recall petitions and directs Defendant to grant an extension of Plaintiff‟s deadline to submit recall petitions by

 an amount of time equal to the duration of Governor Sisolak‟s State of Emergency related to the coronavirus

 pandemic should be granted. Without immediate injunctive relief, Plaintiff‟s recall campaign will

 be shuttered and their First and Fourteenth Amendment rights will be irreparably harmed.

DATED: May 12, 2020                                  Respectfully submitted,

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